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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
USA §
Plaintiff §
§
VS. § Case Number: SA:25-M -00318(1)
§
(1) Luis Gerardo Mendez-Estevaney §

Defendant

ORDER SETTING IDENTITY / DETENTION HEARING

IT IS HEREBY ORDERED that the above entitled and numbered case is set for
09:30 AM, in Courtroom A, on the 2nd Floor of the United States Federal Courthouse, 262
W. Nueva Street, San Antonio, TX on Wednesday, March 05, 2025.

IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office. Further, counsel for the defendant shall notify the defendant of this
setting. If the defendant is on bond, he/she shall be present.

IT IS SO ORDERED this 28th day of February, 2025.

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ELIZ. TH S. ("BETSY") STNEY
UNITED STATES MAGIST E JUDGE

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USA

vs.

(1) Luis Gerardo Mendez-Estevaney
Defendant

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

§

§ Case No: SA:25-M -00318(1)

§

§ Charging District's Case No. : 3:10-CR-2213
§

§

WAIVER OF RULE 5 & 5.1 HEARINGS

(Complaint or Indictment)

I understand that I have been charged in another district, the Western District of Texas -
EI Paso

Date:

I have been informed of the charges and of my rights to:
(1) retain counsel or request the assignment of counsel if I am unable to retain counsel;
(2) an identity hearing to determine whether I am the person named in the charges;

(3) production of the warrant, a certified copy of the warrant, or a reliable electronic
copy of either;

(4) apreliminary hearing to determine whether there is probable cause to believe that
an offense has been committed, to be held within 14 days of my first appearance if I
am in custody and 21 days otherwise, unless I have been indicted beforehand.

(5) ahearing on any motion by the government for detention;

(6) request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to
plead guilty.

I agree to waive my right(s) to:

( ) an identity hearing and production of the warrant.
( ) apreliminary hearing in this district.

( ) adetention hearing in this district.

I consent to the issuance of an order requiring my appearance in the prosecuting district where
the charges are pending against me.

Defendant's signature

Signature of defendant's attorney

Printed name of defendant's attorney
